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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND



 “NAZARBAYEV FUND” PRIVATE FUND,


                           Plaintiff,


              v.                                          Civil Action No. 22-cv-1880-JRR


 JOURNALISM DEVELOPMENT NETWORK,
 INC.,


                           Defendant.



    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM BY DEFENDANT
              JOURNALISM DEVELOPMENT NETWORK, INC.

       Journalism Development Network, Inc. (“JDN”), by and through its undersigned counsel,

moves the Court for an order dismissing the Complaint pursuant to Federal Rule of Civil Procedure

12(b)(6) for failure to state a claim upon which relief can be granted. Reasoning and authorities in

support of the motion are set forth in the attached Memorandum. JDN respectfully requests a

hearing for this motion.
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Dated: November 15, 2022              Respectfully submitted,
       Baltimore, Maryland

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                                 CERTIFICATE OF SERVICE

       I, Andrew S. Tulumello, hereby certify that on November 15, 2022, I caused the foregoing

to be served upon all counsel of record electronically via the Court’s electronic filing service.



Dated: November 15, 2022                           /s/ Andrew S. Tulumello
                                                  Andrew S. Tulumello

                                                  Counsel for Defendant
                                                  Journalism Development Network, Inc.




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